                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION

                         Civil Action No. 5:17-CV-00102-MOC-DSC

 DENVER GLOBAL PRODUCTS, INC.

                   Plaintiff
                   and Counterclaim
                   Defendant,
        v.

 JEANNE HENDRIX,

                   Defendant,

        and

 ROGER LEON and KEITH PIERCY,                               NOTICE OF APPEAL
                                                           BY LEON AND PIERCY
                   Defendants
                   Counterclaim Plaintiffs,
                   and Third Party Plaintiffs,

        v.

 CHONGQING RATO POWER CO., LTD.;
 CHONGQING RATO POWER
 MANUFACTURING CO., LTD.;
 CHONGQING RATO TECHNOLOGY CO.,
 LTD.; ZHU LIEDONG; LARRY QIAN
 WANG; JIN XIANG; MICHAEL PARKINS,
 GODWIN LENG; and RATO NORTH
 AMERICA, INC.,

                   Third Party Defendants.


       Notice is hereby given that, pursuant to Federal Rule of Appellate Procedure 3, Defendants,

Counterclaim Plaintiffs, and Third-Party Plaintiffs Roger Leon and Keith Piercy hereby appeal to

the United States Court of Appeals for the Fourth Circuit from the Order entered in Denver Global



                                                 1

      Case 5:17-cv-00102-MOC-DSC Document 51 Filed 07/25/18 Page 1 of 3
Products, Inc. v. Roger Leon et al., 5:17-CV-102-MOC-DSC (W.D.N.C.) on July 16, 2018 (Doc.

No. 49) and the Clerk’s Judgement entered on July 16, 2018 (Doc No. 50).

       This 25th day of July, 2018.

                                                  /s/ William R. Terpening
                                                  William R. Terpening
                                                  N.C. Bar 36418
                                                  Allison L. Vaughn
                                                  N.C. Bar 48134

                                                  TERPENING WILDER LAW
                                                  5950 Fairview Road, Suite 808
                                                  Charlotte, North Carolina 28210

                                                  terpening@terpeninglaw.com
                                                  vaughn@terpeninglaw.com
                                                  (980) 265-1700

                                                  Counsel for Leon & Piercy




                                              2

      Case 5:17-cv-00102-MOC-DSC Document 51 Filed 07/25/18 Page 2 of 3
                               CERTIFICATE OF SERVICE

        I certify that I have filed this NOTICE OF APPEAL through the Court’s ECF system, which
constitutes service on all parties.


       Dated: July 25, 2018.



                                                   /s/ William R. Terpening




                                              3

      Case 5:17-cv-00102-MOC-DSC Document 51 Filed 07/25/18 Page 3 of 3
